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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                                      Alexandria Division



UNITED STATES OF AMERICA,

               V.                                  Case No. l:19-cr-00304-LMB


HENRY KYLE FRESE,

                       Defendant.



                                           ORDER


       Upon motion ofthe defendant, Henry Kyle Frese, to substitute counsel, it is hereby

       ORDERED that Stuart A. Sears is substituted as counsel for the defendant in the above-

captioned matter; and it is further

       ORDERED that Erika Lynn Berman and Gary Scott Hulsey (admitted pro hac vice) are

permitted to withdraw as counsel for defendant Frese in the above-captioned matter.


       So ORDERED this         jB     day of October 2019.




                                                                      /s/
                                                      Leonie M. Brinkerna
                                                      United States District Judge




Alexandria, Virginia
